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                                       CONTINUATION

1. I make this affidavit in support of an application under Rule 41 of the Federal Rules of Criminal
   Procedure for a search warrant authorizing the examination of two cellular phones described in
   Attachment A, which are currently in law enforcement’s possession, and the extraction from the
   cellular phones of electronically stored information described in Attachment B.

2. I, Special Agent Gregory Pond, was a Police Officer for five years prior to being hired by the
   Drug Enforcement Administration (DEA) as a Special Agent. I have been employed by the
   DEA for 16 years. I have worked in St. Louis, Missouri, Afghanistan, and Kalamazoo,
   Michigan conducting investigations of illegal drug trafficking involving international and inter-
   state drug trafficking organizations and possession of firearms by convicted felons. I have
   received specialized drug trafficking training beginning with the DEA Training Academy and
   including continuous in-service training during my career with the DEA. I have participated in
   hundreds of investigations and served as an Affiant for multiple federal search warrant
   affidavits.

3. This affidavit is intended to show only that there is sufficient probable cause for the requested
   warrant and does not set forth all of my knowledge about this matter.

                 IDENTIFICATION OF THE DEVICES TO BE EXAMINED

4. The devices (hereinafter “Devices” or “two cellular phones”) to be examined are: 1) a black,
   Samsung S10, IMEI 351924104360173 and 2) a black Samsung cellular phone, IMEI
   354807093090454. The Devices are currently in the possession of the Michigan State Police
   Southwest Enforcement Team in Centreville, Michigan and are fully described in Attachment A.

                                       PROBABLE CAUSE

5. On July 15, 2021, Michigan Department of Corrections (MDOC) Absconder Recovery Unit
   (ARU) and Three Rivers Police Department (TRPD) investigators contacted Shane Lee
   HENDERSON in a light colored GMC Yukon bearing Michigan registration EHT 8295.
   HENDERSON was sitting in the GMC Yukon, parked behind the Little Caesars Pizza, 129 N.
   Main Street, Three Rivers, Michigan. The purpose was to arrest HENDERSON for an
   outstanding warrant for Failure to Appear in the 45th Circuit Court, St. Joseph County, Michigan
   and a MDOC parole violation warrant. At the time of his arrest, HENDERSON was on parole
   for a conviction in the 43rd Circuit Court, Cass County, Michigan, for possession of
   methamphetamine and habitual offender second offense. I have reviewed HENDERSON’s
   criminal history. He has seven prior felony convictions for dangerous drugs, resisting arrest,
   fleeing and eluding and delivery of dangerous drugs.

6. Michigan State Police (MSP) Southwest Enforcement Team (SWET) investigators previously
   surveilled HENDERSON driving the Yukon to and from a residence that is under investigation
   for suspected drug trafficking. SWET investigators observed HENDERSON come and go from
   the residence approximately 3 times over a period of two weeks driving the Yukon. SWET
   investigators obtained information that the Yukon was provided to HENDERSON by a
   girlfriend in Lansing, Michigan and that HENDERSON was selling drugs behind the Little
   Caesars Pizza restaurant in Three Rivers, Michigan while HENDERSON was working at Little
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   Caesars Pizza. Information was also obtained by ARU investigators indicating that
   HENDERSON may have been in possession of two firearms on July 14, 2021.

7. On July 15, 2021, ARU and TRPD investigators observed HENDERSON sitting in the driver’s
   seat of the parked Yukon with the door open behind the Little Caesars Pizza restaurant. No one
   else was present in the Yukon. As ARU and TRPD investigators approached HENDERSON,
   HENDERSON exited the Yukon and was arrested with the ignition key to the Yukon in his
   hand.

8. A subsequent search of the Yukon revealed a box for a digital scale and a methamphetamine
   smoking device located near the center console of the vehicle. A false bottom in the center
   console was discovered, concealing a black box with attached magnets wrapped in a black sock.
   Investigators opened the box and seized several bags of suspected methamphetamine from
   inside the box.

9. A further search located a “Johnny’s” shopping bag inside a speaker box in the back hatch area
   of the Yukon. More suspected crystal methamphetamine, fentanyl, cocaine, a digital scale and a
   suspected methamphetamine pipe were located inside the “Johnny’s” shopping bag. U.S. Mail
   addressed to “Shane Henderson” was located in the back hatch area near the speaker box. Field
   tests using a TRU NARC instrument were conducted on the suspected methamphetamine and
   cocaine. Results indicated the presence of methamphetamine and cocaine. A MobileDetect field
   test was conducted on the suspected fentanyl and the results indicated the presence of
   heroin/fentanyl. The methamphetamine was wrapped in eleven individual baggies and had a
   gross weight, including packaging, of 238 grams. The heroin/fentanyl weighed approximately
   2 grams, including its packaging. The cocaine weighed approximately 4 grams, including its
   packaging. Subsequent testing by the DEA Laboratory confirmed that the substances were
   methamphetamine, a mixture containing heroin and fentanyl, and cocaine.

10. A TRPD police canine sniff was executed and the TRPD canine alerted to the rear seat area of
    the Yukon, adjacent to the speaker box that the suspected methamphetamine, fentanyl/heroin,
    and cocaine were seized from.

11. The Devices were seized from HENDERSON pursuant to his arrest. One cellular phone was
    on, unlocked and propped on the steering wheel of the Yukon. The other cellular phone was
    seized from the passenger compartment of the Yukon, near the driver’s seat.

12. On August 12, 2021, Magistrate Judge Ray Kent of the U.S. District Court for the Western
    District of Michigan signed a criminal complaint alleging Shane Lee HENDERSON possessed
    with the intent to distribute 50 grams or more of methamphetamine and a quantity of cocaine
    and a quantity of heroin/fentanyl based on law enforcement’s arrest of HENDERSON on July
    15, 2021. HENDERSON was subsequently arrested and brought before the Court in the
    Western District of Michigan on August 12, 2021.

13. On September 1, 2021, HENDERSON was indicted by a Grand Jury sitting in the Western
    District of Michigan for possession with intent to distribute 50 grams or more of
    methamphetamine, a mixture containing fentanyl and heroin, and cocaine, in violation of 21
    U.S.C. §§ 841(a)(1), (b)(1)(A), (b)(1)(C).


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14. Based on my experience and training, I know (a) that the quantities of methamphetamine in this
    investigation are consistent with drug trafficking rather than personal use, (b) that these
    quantities reflect an intent to distribute, and (c) that methamphetamine, fentanyl and cocaine are
    Schedule II controlled substances and heroin is a Schedule I controlled substance.

15. Based upon my training and experience, as well as the training and experience of others, I
    understand the following about drug traffickers:

   a.      People engaged in drug trafficking frequently utilize cellular telephones to facilitate their
           transactions. Cellular telephones are portable, and many mobile telecommunications
           service providers do not require purchasers of the devices to provide their names and/or
           addresses, so narcotics traffickers often use the devices in an effort to avoid detection by
           law enforcement.

   b.      Mobile phones often contain evidence indicative of drug trafficking, including records of
           incoming and outgoing calls; text messages; emails, photographs of drugs,
           coconspirators, or currency; and, in the case of “smart phones,” Global Positioning
           System (GPS) data indicating the location of the device at given points in time.
           Additionally, drug traffickers typically maintain and use multiple mobile phones to
           facilitate sales, and frequently switch phones to evade detection by law enforcement.
           Further, these types of devices are frequently used to access social media websites such
           as Facebook, Instagram, etc. Based on my training and experience, and the training and
           experience of other law enforcement agents, drug traffickers are using social media with
           increasing frequency to communicate with suppliers and purchasers of narcotics.

   c.      Persons who sell drugs will often keep documents, phone numbers of other drug dealers
           and phone numbers of their drug sources stored within their cellular telephones.

   d.      Drug traffickers often take, or cause to be taken, photographs and videos of themselves,
           their associates, their property and/or their drugs, often storing them on their cellular
           telephones.

16. HENDERSON is currently serving a term of parole, which began on October 27, 2020 and is
    set to run through January 27, 2022 for a 2018 conviction for possession of methamphetamine.
    I have reviewed HENDERSON’s order of parole with the Michigan Parole Board.
    HENDERSON’s order of parole contains the following special condition: “I voluntarily consent
    to a search of my person and property upon demand by a peace office or parole officer. If I do
    not sign this written consent, I understand that my parole may be rescinded or revoked.”
    HENDERSON initialed this special condition, among all the other special conditions contained
    in his order of parole, and signed his order of parole on September 10, 2020. The parole order
    contained the following affirmation above HENDERSON’s signature: “I have read or heard the
    parole conditions and special conditions and have received a copy. I understand that failure to
    comply with any of the conditions or special conditions may result in revocation of parole and
    return to confinement. I understand and agree to comply with the parole conditions and special
    conditions.”

17. On the basis of the information contained in this continuation and my experience and training,
    probable cause exists to believe that evidence of drug trafficking involving Shane Lee
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   HENDERSON will be stored or contained in the two cellular phones described in Attachment
   A.

18. Based on the foregoing recitation of facts, and in light of my training and experience, as well as
    the training and experience of other law enforcement officers, I submit that there is probable
    cause to believe that the Devices listed in Attachment A contain historical information
    concerning call activity; information stored in the phone’s “phonebook” or “contacts” directory;
    stored voice-mails; emails; text messages; electronic files; photographs; video images; and
    records of internet searches and transactions that are evidence of violations of federal controlled
    substance laws.
                                     TECHNICAL TERMS

19. Based on my training and experience, I use the following technical terms to convey the
    following meanings:

       a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular telephone) is
          a handheld wireless device used for voice and data communication through radio
          signals. These telephones send signals through networks of transmitter/receivers,
          enabling communication with other wireless telephones or traditional “land line”
          telephones. A wireless telephone usually contains a “call log,” which records the
          telephone number, date, and time of calls made to and from the phone. In addition to
          enabling voice communications, wireless telephones offer a broad range of capabilities.
          These capabilities include: storing names and phone numbers in electronic “address
          books;” sending, receiving, and storing text messages and e-mail; taking, sending,
          receiving, and storing still photographs and moving video; storing and playing back
          audio files; storing dates, appointments, and other information on personal calendars;
          and accessing and downloading information from the Internet. Wireless telephones may
          also include global positioning system (“GPS”) technology for determining the location
          of the device.

       b. Digital camera: A digital camera is a camera that records pictures as digital picture files,
          rather than by using photographic film. Digital cameras use a variety of fixed and
          removable storage media to store their recorded images. Images can usually be
          retrieved by connecting the camera to a computer or by connecting the removable
          storage medium to a separate reader. Removable storage media include various types of
          flash memory cards or miniature hard drives. Most digital cameras also include a screen
          for viewing the stored images. This storage media can contain any digital data,
          including data unrelated to photographs or videos.

       c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a handheld
          digital storage device designed primarily to store and play audio, video, or photographic
          files. However, a portable media player can also store other digital data. Some portable
          media players can use removable storage media. Removable storage media include
          various types of flash memory cards or miniature hard drives. This removable storage
          media can also store any digital data. Depending on the model, a portable media player
          may have the ability to store very large amounts of electronic data and may offer
          additional features such as a calendar, contact list, clock, or games.


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   d. GPS: A GPS navigation device uses the Global Positioning System to display its current
      location. It often contains records the locations where it has been. Some GPS
      navigation devices can give a user driving or walking directions to another location.
      These devices can contain records of the addresses or locations involved in such
      navigation. The Global Positioning System (generally abbreviated “GPS”) consists of
      24 NAVSTAR satellites orbiting the Earth. Each satellite contains an extremely accurate
      clock. Each satellite repeatedly transmits by radio a mathematical representation of the
      current time, combined with a special sequence of numbers. These signals are sent by
      radio, using specifications that are publicly available. A GPS antenna on Earth can
      receive those signals. When a GPS antenna receives signals from at least four satellites,
      a computer connected to that antenna can mathematically calculate the antenna’s
      latitude, longitude, and sometimes altitude with a high level of precision.

   e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used for
      storing data (such as names, addresses, appointments or notes) and utilizing computer
      programs. Some PDAs also function as wireless communication devices and are used to
      access the Internet and send and receive e-mail. PDAs usually include a memory card
      or other removable storage media for storing data and a keyboard and/or touch screen
      for entering data. Removable storage media include various types of flash memory
      cards or miniature hard drives. This removable storage media can store any digital data.
      Most PDAs run computer software, giving them many of the same capabilities as
      personal computers. For example, PDA users can work with word-processing
      documents, spreadsheets, and presentations. PDAs may also include global positioning
      system (“GPS”) technology for determining the location of the device.

   f. Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller than a
      notebook, that is primarily operated by touching the screen. Tablets function as wireless
      communication devices and can be used to access the Internet through cellular networks,
      802.11 “Wi-Fi” networks, or otherwise. Tablets typically contain programs called apps,
      which, like programs on a personal computer, perform different functions and save data
      associated with those functions. Apps can, for example, permit accessing the Web,
      sending and receiving e-mail, and participating in Internet social networks.

   g. IP Address: An Internet Protocol address (or simply “IP address”) is a unique numeric
      address used by computers on the Internet. An IP address is a series of four numbers,
      each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every computer
      attached to the Internet computer must be assigned an IP address so that Internet traffic
      sent from and directed to that computer may be directed properly from its source to its
      destination. Most Internet service providers control a range of IP addresses. Some
      computers have static—that is, long-term—IP addresses, while other computers have
      dynamic—that is, frequently changed—IP addresses.

   h. Internet: The Internet is a global network of computers and other electronic devices that
      communicate with each other. Due to the structure of the Internet, connections between
      devices on the Internet often cross state and international borders, even when the devices
      communicating with each other are in the same state.

   i. Based on my training, experience, and research I know that the Devices have
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           capabilities that allow it to serve as a wireless telephone, digital camera, portable media
           player, GPS navigation device, and PDA. In my training and experience, examining
           data stored on cellular phones can uncover, among other things, evidence that reveals or
           suggests who possessed or used the device.

                 ELECTRONIC STORAGE AND FORENSIC ANALYSIS

20. The requested warrant would authorize the extraction and copying of electronically store
    information, all under Rule 41(e)(2)(B).

21. Based on my knowledge, training, and experience, I know that cellular phones can store
    information for long periods of time. Similarly, things that have been viewed via the Internet
    are typically stored for some period of time on a device. This information can sometimes be
    recovered with forensics tools.

22. Forensic evidence. As further described in Attachment B, this application seeks permission to
    locate not only electronically stored information that might serve as direct evidence of the
    crimes described on the warrant, but also forensic evidence that establishes how the Devices
    were used, the purpose of their use, who used them, and when. There is probable cause to
    believe that this forensic electronic evidence might be on the Devices because:

       a. Data on the storage medium can provide evidence of a file that was once on the storage
          medium but has since been deleted or edited, or of a deleted portion of a file (such as a
          paragraph that has been deleted from a word processing file).

       b. Forensic evidence on a device can also indicate who has used or controlled the device.
          This “user attribution” evidence is analogous to the search for “indicia of occupancy”
          while executing a search warrant at a residence.

       c. A person with appropriate familiarity with how an electronic device works may, after
          examining this forensic evidence in its proper context, be able to draw conclusions about
          how electronic devices were used, the purpose of their use, who used them, and when.

       d. The process of identifying the exact electronically stored information on a storage
          medium that is necessary to draw an accurate conclusion is a dynamic process.
          Electronic evidence is not always data that can be merely reviewed by a review team
          and passed along to investigators. Whether data stored on a computer is evidence may
          depend on other information stored on the computer and the application of knowledge
          about how a computer behaves. Therefore, contextual information necessary to
          understand other evidence also falls within the scope of the warrant.

       e. Further, in finding evidence of how a device was used, the purpose of its use, who used
          it, and when, sometimes it is necessary to establish that a particular thing is not present
          on a storage medium.

23. Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the
    warrant I am applying for would permit the examination of the Devices consistent with the
    warrant. The examination may require authorities to employ techniques, including but not
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   limited to computer-assisted scans of the entire medium, that might expose many parts of the
   device to human inspection in order to determine whether it is evidence described by the
   warrant.

24. Manner of execution. Because this warrant seeks only permission to examine devices already
    in law enforcement’s possession, the execution of this warrant does not involve the physical
    intrusion onto a premises. Consequently, I submit there is reasonable cause for the Court to
    authorize execution of the warrant at any time in the day or night.

                                        CONCLUSION

25. I submit that this affidavit supports probable cause for a search warrant authorizing the
    examination of the Devices described in Attachment A to seek the items described in
    Attachment B.




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